SEALED

IN THE S STATES DISTRICT COURT

FILED
APR 2 1 2025
Heidi D. Campbell, Clerk

FOR THE NORTHERN DISTRICT OF OKLAHOMA ~*: DISTRICT COURT

UNITED STATES OF AMERICA,
Plaintiff,
v.

CIDIA MARLENY LIMA LOPEZ,
a/k/a “Sofia,”

a/k/a “Sofia de Torrez Landa,”
a/k/a“alonzodaymelin@gmail.com,”
VERONICA MARIBEL LIMA
LOPEZ,

a/k/a “Verito,”

a/k/a “Vero,”

OTTONIEL CASTRO ARGUETA,
a/k/a “Otto Castro,”

a/k/a “Mauricio Perez Penarosa,”
a/k/a “Clave77,”

ARIZ OBDULIO ARGUETA,
a/k/a “Clave7,”

PEDRO CUCUL GUALNA,
a/k/a “GuateFC.502,”

CARLOS ENRIQUE RAMOS
CAAL,

a/k/a “Carlos Ramos Peten,”
ESVIN ALEXANDER
RODRIGUEZ LUIS,

a/k/a “Esbin Alexander Rodriguez
Luis,”

CESAR RODOLFO GARCIA
ARGUETA,

Defendants.

THE GRAND JURY CHARGES:

Case No.

FILED UNDER SEAL

INDICTMENT

[COUNT ONE: 8 U.S.C.

§§ 1324(a)((AVMM, (OAM,
(ii), (iii), and (a)(1)(B)@ —
Conspiracy to Bring, Transport, and
Harbor Aliens in the United States
legally for Private Financial Gain;
COUNTS TWO through SIX: 18
U.S.C. § 1957(a) — Engaging in
Monetary Transactions in Property
Derived from Specified Unlawful
Activity;

Forfeiture Allegation: 8 U.S.C.

§ 1324, 18 U.S.C. § 982(a) and 28
U.S.C. § 2461 — Human Trafficking
and Money Laundering Forfeiture]

COUNT ONE
[8 U.S.C. §§ 1324(a)(1)(A)(v)), (a)(1)(A)@), (i), (ati),
and (a)(1)(B)(@)]

INTRODUCTION

At all times relevant to this Indictment:

1. The Lima Lopez transnational criminal organization (“Lima Lopez TCO”)
has been operating for at least four years and specializes in bringing aliens from
Guatemala, Mexico, Colombia, and other countries in Central America, South
America, and Asia into the United States in violation of the law. The Lima Lopez
TCO also specializes in the transportation and movement of those aliens illegally
within the United States, and the harboring of those aliens illegally within the United
States. The aliens are not United States citizens and do not have prior official
authorization from the United States government to come to, enter, and reside in the
United States. The Lima Lopez TCO brings aliens into the United States illegally,
then transports and harbors aliens illegally in the United States in exchange for the
aliens’ payment of fees for the financial gain of the Lima Lopez TCO.

2. The locations the Lima Lopez TCO transports, moves, conceals, and
harbors those aliens illegally within the United States include the Northern District
of Oklahoma, Alabama, Arizona, Arkansas, California, Colorado, Florida, Georgia,
Indiana, Illinois, Kansas, Kentucky, Maryland, Michigan, Missouri, Nebraska, New
Jersey, New Mexico, New York, North Carolina, Oregon, Pennsylvania, South

Carolina, Tennessee, Virginia, and Washington.
3. CIDIA MARLENY LIMA LOPEZ, a/k/a “Sofia,” a/k/a “Sofia de Torrez
Landa,” a/k/a “alonzodaymelin@gmail.com,” is the leader of the Lima Lopez
TCO. C. LIMA LOPEZ is a citizen and national of Guatemala and is illegally and
unlawfully in the United States.

4. C. LIMA LOPEZ works with others, including the following:

a. Associates in Guatemala who accept various forms of payment for
aliens to be brought illegally into the United States;

b. Associates in Mexico who transport, house, and assist aliens in illegally
crossing the United States-Mexico border; and

c. Inthe United States, a smuggling cell and teams of drivers who harbor
and transport aliens illegally in the United States to various cities within the United
States, and operate stash houses where aliens are harbored while they are within the
United States illegally. These smuggling cells also collect and distribute proceeds
derived from bringing aliens into the United States illegally, transporting those aliens
within the United States, and harboring those aliens in the United States.

5. VERONICA MARIBEL LIMA LOPEZ, a/k/a “Verito,” a/k/a “Vero,” is
an organizer who directs and funds transporting and harboring aliens illegally within
the United States. V. LIMA LOPEZ also directs the collection of proceeds derived
from those activities. V. LIMA LOPEZ is a citizen and national of Guatemala and is

illegally and unlawfully in the United States.
6. OTTONIEL CASTRO ARGUBETA, a/k/a “Otto Castro,” a/k/a
“Mauricio Perez Penarosa,” a/k/a “Clave77,” is an organizer who directs the
transportation and harboring of aliens illegally within the United States and the
collection of proceeds related to the illegal smuggling of aliens. CASTRO
ARGUETA also transported and harbored aliens illegally within the United States
and the proceeds derived from those activities. CASTRO ARGUETA is a citizen
and national of Guatemala and is illegally and unlawfully in the United States.

7. ARIZ OBDULIO ARGUETA, a/k/a “Clave7,” is an organizer who
arranged to bring an alien across the Mexico-United States border illegally and
transport that alien to Tulsa, Oklahoma, within the Northern District of Oklahoma,
in exchange for a fee. OBDULIO ARGUETA also transported proceeds derived
from those activities. OBDULIO ARGUETA is a citizen and national of Guatemala
and is legally and unlawfully in the United States.

8. PEDRO CUCUL GUALNA, a/k/a “GuateFC.502,” was a driver who
transported and harbored aliens illegally within the United States and collected
proceeds derived from those activities. CUCUL GUALNA is a citizen and national
of Guatemala and is illegally and unlawfully in the United States.

9. CARLOS ENRIQUE RAMOS CAAL, a/k/a “Carlos Ramos Peten,” was
a driver who transported and harbored aliens illegally in the United States. RAMOS
CAAL collected and transferred proceeds derived from those activities. RAMOS

CAAL also coordinated with co-conspirators to transport aliens illegally within the
United States. RAMOS CAAL is a citizen and national of Guatemala and is
illegally and unlawfully in the United States.

10. ESVIN ALEXANDER RODRIGUEZ LUIS, a/k/a “Esbin Alexander
RODRIGUEZ LUIS,” assisted OBDULIO ARGUETA in collecting fees from an
alien for attempting to bring that alien across the Mexico-United States border
illegally and transport that alien to Tulsa. RODRIGUEZ LUIS is a citizen and
national of Guatemala and is illegally and unlawfully in the United States.

11. CESAR RODOLFO GARCIA ARGUETA assisted OBDULIO
ARGUETA in collecting fees for attempting to bring an alien across the Mexico-
United States border illegally and transport that alien to Tulsa. GARCIA
ARGUETA is a citizen and national of Guatemala and is illegally and unlawfully in
the United States.

OBJECTS OF THE CONSPIRACY

12. From in or about October 2021 through the date of this Indictment, in the
Northern District of Oklahoma and elsewhere, the defendants, C. LIMA LOPEZ,
V. LIMA LOPEZ, CASTRO ARGUETA, OBDULIO ARGUETA, CUCUL
GUALNA, RAMOS CAAL, RODRIGUEZ LUIS, and GARCIA ARGUETA,
and others known and unknown to the Grand Jury, knowingly conspired and agreed
with each other to:

a. Bring aliens to the United States in any manner whatsoever at a place

other than a designated port of entry and place other than as designated by the
Secretary of the Department of Homeland Security, for private financial gain,
knowing that such persons are aliens and regardless of whether such aliens had
received prior official authorization to come to, enter, and reside in the United
States, and regardless of any future official action which may be taken in respect to
such aliens, all in violation of Title 8, United States Code, Sections 1324(a)(1)(A)Q)
and 1324(a)(1)(B)q@);

b. Transport and move aliens within the United States in furtherance of
the aliens’ violation of law and for private financial gain, by means of transportation
and otherwise, knowing and in reckless disregard of the fact that such aliens had
come to, entered, and remained in the United States in violation of the law, all in
violation of Title 8, United States Code, Sections 1324(a)(1)(A)(ii) and
1324(a)(1)(B)(i); and

c. Conceal, harbor, and shield from detection aliens in any place and
building, and by any means of transportation, for private financial gain, knowing and
in reckless disregard of the fact that such aliens had come to, entered, and remained
in the United States in violation of law, all in violation of Title 8, United States
Code, Sections 1324(a)(1)(A)(iii) and 1324(a)(1)(B)q).

MANNER AND MEANS OF THE CONSPIRACY
The objects of the conspiracy are being accomplished as follows:
13. Conspirators in Central and South America accept various forms of payment

from aliens to be brought into the United States illegally.
14. Conspirators in Central and South America gather aliens to be brought into
the United States illegally through Mexico.

15. Conspirators in Mexico transport, house, and assist aliens in crossing the
United States-Mexico border illegally into the United States.

16. The conspirators collect, for their own private financial gain and that of the
Lima Lopez TCO, the fees and proceeds from bringing aliens into the United States
illegally.

17. The conspirators transport aliens who were illegally in the United States to
various states and cities, including Tulsa.

18. The conspirators collect, for their own private financial gain and that of the
Lima Lopez TCO, the fees and proceeds from transporting aliens who were illegally
in the United States.

19. The conspirators harbor and conceal aliens who were illegally in the United
States throughout various states and cities.

20. The conspirators collect, for their own private financial gain and that of the
Lima Lopez TCO, the fees and proceeds from harboring and concealing aliens who
were illegally in the United States.

21. The conspirators collect fees and proceeds in cash and through Zelle, an
electronic money transfer service.

22. After collecting fees and proceeds, the conspirators deposit them into and
transfer them between various bank accounts, including accounts with JP Morgan

Chase and Bank of America.
OVERT ACTS

On or about the following dates, in furtherance of the conspiracy and to
accomplish its objects, C. LIMA LOPEZ, V. LIMA LOPEZ, CASTRO
ARGUETA, OBDULIO ARGUETA, CUCUL GUALNA, RAMOS CAAL,
RODRIGUEZ LUIS, and others known and unknown to the Grand Jury,
committed various overt acts within the Northern District of Oklahoma, and
elsewhere, including the following:

23. On May 24, 2022, OBDULIO ARGUETA transported approximately
$35,377 in proceeds derived from bringing, transporting, and harboring aliens
illegally in the United States, all at the direction of C. LIMA LOPEZ and other co-
conspirators.

24. In November 2022, CASTRO ARGUETA harbored, concealed, and
transported five aliens illegally within the United States from Oklahoma to
California in exchange for a total fee of approximately $35,500, all at the direction of
C. LIMA LOPEZ and other co-conspirators.

25. On November 9, 2022, CASTRO ARGUETA transported approximately
$38,125 in proceeds derived from bringing, transporting, and harboring aliens
illegally in the United States, all at the direction of C. LIMA LOPEZ and other co-

conspirators.
26. On November 9, 2022, CASTRO ARGUETA harbored, concealed, and
transported D.S.A., an alien known to the Grand Jury, within the state of Arizona
while D.S.A. was illegally in the United States.

27. On April 10, 2023, RAMOS CAAL advised V. LIMA LOPEZ about fees
collected from A.P., P.R., J.T., V.G., P.Y., J.C., J.C., and M.M., aliens known to
the Grand Jury who were illegally in the United States and transported to Tennessee,
Alabama, and Florida.

28. On April 10, 2023, RAMOS CAAL advised V. LIMA LOPEZ about an
outstanding fee related to K.R., an alien known to the Grand Jury who was illegally
in the United States and transported to Kansas.

29. From April 13, 2023, through June 7, 2023, RAMOS CAAL and V. LIMA
LOPEZ arranged to transport aliens illegally in the United States and collect fees
from those transports.

30. On June 24, 2023, C. LIMA LOPEZ arranged for RAMOS CAAL to
transport F.P.X., F.C.P., D.A.P.G., and M.C.J., aliens known to the Grand Jury
who were illegally in the United States, to Tennessee, Georgia, and Alabama in
exchange for fees.

31. On July 26, 2023, RAMOS CAAL transported F.A.M.P., a Colombian
national known to the Grand Jury who was illegally in the United States, through

California.
32. On December 4, 2023, CASTRO ARGUETA and RAMOS CAAL
arranged to transport M.G., J.S., A.C., S.X., D.T., R.H., M.J., O.C., C.L, E.P., and
O.R., aliens known to the Grand Jury who were illegally in the United States, to
Florida, Georgia, and Tennessee in exchange for fees.

33. On December 7, 2023, CASTRO ARGUETA gave RAMOS CAAL an
ATM PIN and debit card number x2733 in C. LIMA LOPEZ’s name and directed
RAMOS CAAL to make three deposits totaling approximately $15,000 into C.
LIMA LOPEZ’s JPMorgan Chase bank account number x3166.

34. On December 7, 2023, RAMOS CAAL used debit card number x2733 to
make three ATM deposits totaling approximately $15,000 into JP Morgan Chase
bank account number x3166 belonging to C. LIMA LOPEZ.

35. On March 10, 2024, CUCUL GUALNA used debit card number x2733 to
make three ATM deposits totaling approximately $17,000 into JP Morgan Chase
account number x3166 belonging to C. LIMA LOPEZ.

36. From March 11, 2024, through March 13, 2024, C. LIMA LOPEZ
transferred approximately $12,540 from JPMorgan Chase Bank account number
x3166 into JPMorgan Chase Bank account number x9056, jointly held by C. LIMA
LOPEZ and CASTRO ARGUETA.

37. On May 15, 2024, C. LIMA LOPEZ used proceeds in her JPMorgan Chase
Bank account number x3166 to purchase a $45,000 cashier’s check payable to T.K., a

person known to the Grand Jury.

10
38. From August 28, 2024, through September 7, 2024, V. LIMA LOPEZ
arranged with CUCUL GUALNA to pick up approximately $2,000 in proceeds in
New Mexico.

39. On August 29, 2024, CUCUL GUALNA and V. LIMA LOPEZ arranged
for CUCUL GUALNA to transport aliens illegally in the United States from New
Mexico throughout the United States.

40. On September 8, 2024, V. LIMA LOPEZ transferred approximately $584.16
in proceeds to CUCUL GUALNA using Barri Money Services for the purpose of
transporting aliens illegally in the United States.

41. On September 9, 2024, CUCUL GUALNA transported aliens illegally in
the United States into Oklahoma.

42. On September 11, 2024, V. LIMA LOPEZ arranged with CUCUL
GUALNA to transport U.C.Q., M.D.L.L.P., Y.A.P., M.A.P., Y.A.M., A.Z.O.,
P.J.J., and D.S.A.2, aliens known to the Grand Jury who were illegally in the United
States, to Washington, California, Oregon, Kansas, and Nebraska in exchange for
fees.

43. On October 3, 2024, a conspirator known to the Grand Jury transported
C.M., an alien known to the Grand Jury who was illegally in the United States, to

North Carolina.

11
44. On October 10, 2024, C. LIMA LOPEZ arranged for COCUL GUALNA
to transport aliens who were illegally in the United States to Pennsylvania, New
York, New Jersey, Maryland, and Virginia in exchange for fees.

45. On October 13, 2024, C. LIMA LOPEZ arranged for CUCUL GUALNA
to transport A.P.D., an alien known to the Grand Jury who was illegally in the
United States, in exchange for a fee.

46. On October 17, 2024, C. LIMA LOPEZ arranged for CUCUL GUALNA
to transport aliens who were illegally in the United States to Kansas, Illinois,
Indiana, and Pennsylvania in exchange for a fee.

47. On October 21, 2024, C. LIMA LOPEZ arranged for CUCUL GUALNA
to transport four aliens who were illegally in the United States in exchange for a fee
of approximately $8,000.

48. On October 24, 2024, CUCUL GUALNA transported J.A.H.B. and
D.F.C.G., Guatemalan and Mexican nationals known to the Grand Jury who were
illegally in the United States, and three other aliens who were also illegally in the
United States, from Oklahoma through Missouri and Indiana.

49. On October 26, 2024, CUCUL GUALNA returned to Oklahoma

transporting approximately $3,151 in proceeds.

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50. On November 7, 2024, C. LIMA LOPEZ arranged for RAMOS CAAL to
distribute approximately $2,000 in proceeds to a driver and approximately $1,500 in
proceeds to CASTRO ARGUETA.

51. On November 9, 2024, C. LIMA LOPEZ and RAMOS CAAL arranged to
transport J.A.F. and M.L., aliens known to the Grand Jury who were illegally in the
United States, to Oklahoma and harbor them.

52. From November 12, 2024, through November 13, 2024, C. LIMA LOPEZ
and RAMOS CAAL arranged to transport eight aliens who were illegally in the
United States from New Mexico to Oklahoma, Georgia, Florida, and other
unknown locations.

53. From November 29, 2024, through December 1, 2024, C. LIMA LOPEZ
and RAMOS CAAL arranged for RAMOS CAAL to meet with “El Gordo,” a
person unknown to the Grand Jury, in New Mexico to pick up eight aliens who were
illegally in the United States and transport them in exchange for a fee.

54. On December 2, 2024, C. LIMA LOPEZ and RAMOS CAAL arranged for
RAMOS CAAL to transport seven aliens, including five Chinese nationals unknown
to the Grand Jury, who were illegally in the United States to Texas in exchange for a
fee.

55. On December 14, 2024, C. LIMA LOPEZ and RAMOS CAAL arranged a
trip to New Mexico for the purpose of harboring and transporting aliens illegally in

the United States.

13
56. On December 14, 2024, C. LIMA LOPEZ directed RAMOS CAAL to pick
up funding for the trip to New Mexico from V. LIMA LOPEZ.

57. On December 22, 2024, C. LIMA LOPEZ and RAMOS CAAL arranged to
transport aliens illegally in the United States to New Mexico.

58. On December 22, 2024, C. LIMA LOPEZ directed RAMOS CAAL to pick
up funding for the trip to New Mexico from V. LIMA LOPEZ.

59. On January 11, 2025, C. LIMA LOPEZ arranged for RAMOS CAAL to
transport R.S., A.L., D.G., N.F., D.R., LB., J.G., and P.V., aliens known to the
Grand Jury who were illegally in the United States, to Mississippi, North Carolina,
South Carolina, Florida, Georgia, and Alabama in exchange for a fee.

60. On January 12, 2025, C. LIMA LOPEZ provided RAMOS CAAL an ATM
PIN and directed him to make a cash deposit of approximately $20,000 in proceeds
so she could transfer money to G.M.R., a person unknown to the Grand Jury, for
bringing, transporting, and harboring aliens illegally in the United States.

61. On January 12, 2025, RAMOS CAAL sett C. LIMA LOPEZ a photo
receipt of four deposits of approximately $5,000 in proceeds into JP Morgan Chase
bank account x3166 belonging to C. LIMA LOPEZ, made using debit card number
x2733 in C. LIMA LOPEZ?’s name.

62. From January 12, 2025, through February 3, 2025, C. LIMA LOPEZ sent

three separate Zelle money transfers totaling approximately $13,000 in proceeds from

14
her JPMorgan Chase bank account number x3166 to G.M.R., a person unknown to
the Grand Jury.

63. On January 29, 2025, CASTRO ARGUETA and RAMOS CAAL arranged
for RAMOS CAAL to transport D.O.R.C., and A.L.G.P., Guatemalan nationals
known to the Grand Jury who were illegally in the United States, from New Mexico
to Arizona and California.

64. On January 29, 2025, RAMOS CAAL transported L.T.G., D.O.R.C., and
A.L.G.P., Guatemalan nationals known to the Grand Jury who were illegally in the
United States, from New Mexico to Arizona.

65. On March 4, 2025, OBDULIO ARGUETA and a person known to the
Grand Jury arranged for OBDULIO ARGUETA to bring an alien illegally across
the Mexico-United States border and transport the alien to Tulsa in exchange for a
$5,000 down payment.

66. On March 4, 2025, OBDULIO ARGUETA, RODRIGUEZ LUIS, and
GARCIA ARGUETA collected the $5,000 down payment in Tulsa to bring an alien
illegally across the Mexico-United States border and transport the alien to Tulsa.

67. On March 4, 2025, OBDULIO ARGUETA, RODRIGUEZ LUIS, and
GARCIA ARGUETA transported the $5,000 down payment from Tulsa to
Oklahoma City.

68. On March 4, 2025,GARCIA ARGUETA deposited proceeds into a Bank

of America account in Oklahoma.

15
69. From June 10, 2024, through January 27, 2025, C. LIMA LOPEZ used
Zelle to transfer approximately $20,815 in proceeds from her JPMorgan Chase Bank
account number x3166 to V. LIMA LOPEZ.

70. From July 18, 2024, through December 31, 2024, V. LIMA LOPEZ used
Zelle to transfer approximately $8,301 in proceeds from her Bank of America
account number x2066 to C. LIMA LOPEZ’s JPMorgan Chase Bank account
number x3166.

71. From August 11, 2023, through May 23, 2024, V. LIMA LOPEZ used Zelle
to transfer approximately $22,040 in proceeds from her Bank of America account
number x2066 to CASTRO ARGUETA’s and C. LIMA LOPEZ’s joint JPMorgan
Chase Bank account number x9056.

All in violation of 8 U.S.C. §§ 1324(a)(1)(A)(v)(D, (a)(1)(ANG), Gi), (i),

and (a)(1)(B)@).

16
COUNTS TWO through FIVE
[18 U.S.C. § 1957(a)]

72. The Grand Jury hereby incorporates and realleges paragraphs 1 through 71
of this Indictment.

73. On or about the dates stated below, in the Northern District of Oklahoma,
defendant, OTTONIEL CASTRO ARGUEBETA, a/k/a “Otto Castro,” a/k/a
“Mauricio Perez Penarosa,” a/k/a “Clave77,” knowingly engaged in and attempted
to engage in monetary transactions, as described below, in criminally derived
property of a value greater than $10,000 and derived from specific unlawful
activities, Conspiracy to Bring, Transport, and Harbor Aliens in the United States
Illegally for Private Financial Gain, in violation of Title 8, United States Code,
Sections 1324(a)(1)(A)(v)(D, (a) )(AYGQ), GD, (ii), and 1324(a)(1)(B)(), as set forth

more fully in Count One of this Indictment.

Count Date Amount Bank Account Location

JPMorgan Chase

2 10/23/2023 $20,000 Bank account Broken Arrow,
number x9056 OK
JPMorgan Chase

3 10/23/2023 $15,000 Bank account Tulsa,
number x9056 OK
JPMorgan Chase

4 01/26/2024 $15,000 Bank account Tulsa,
number x9056 OK
Bank of America

5 02/15/2024 $31,115.77 account number Broken Arrow,
x 1349 OK

All in violation of Title 18, United States Code, Section 1957(a).

17
COUNT SIX
[18 U.S.C. § 1957(a)]

74. The Grand Jury hereby incorporates and realleges paragraphs 1 through 71
of this Indictment.

75. On or about May 15, 2024, in the Northern District of Oklahoma,
defendant, CIDIA MARLENY LIMA LOPEZ, a/k/a “Sofia,” a/k/a “Sofia de
Torrez Landa,” a/k/a “alonzodaymelin@gmail.com,” knowingly engaged in and
attempted to engage in a monetary transaction in criminally derived property of a
value greater than $10,000 and derived from specific unlawful activities, Conspiracy
to Bring, Transport, and Harbor Aliens in the United States Illegally for Private
Financial Gain, in violation of Title 8, United States Code, Sections
1324(a)(1)(A)(V)C), (a)(1)(A)Q), Gi), (iii), and (a)(1)(B)@), as set forth more fully in
Count One of this Indictment, by purchasing a cashier’s check from JPMorgan
Chase Bank account number x3166 in the amount of $45,000.

All in violation of Title 18, United States Code, Section 1957(a).

18
FORFEITURE ALLEGATION
[8 U.S.C. § 1324, 18 U.S.C. § 982(a) and 28 U.S.C. § 2461]

The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to Title 8,
United States Code, Section 1324, Title 18, United States Code, Section 982(a), and
Title 28, United States Code, Section 2461.

Upon conviction of the offenses alleged in this Indictment, as a part of their
sentences, the defendants, CIDLA MARLENY LIMA LOPEZ, a/k/a “Sofia,”
a/k/a “Sofia de Torrez Landa,” a/k/a “alonzodaymelin@gmail.com,”
VERONICA MARIBEL LIMA LOPEZ, a/k/a “Verito,” a/k/a “Vero,”
OTTONIEL CASTRO ARGUETA, a/k/a “Otto Castro,” a/k/a “Mauricio Perez
Penarosa,” a/k/a “Clave77,” ARIZ OBDULIO ARGUETA, a/k/a “Clave7,”
PEDRO CUCUL GUALNA, a/k/a “GuateFC.502,” CARLOS ENRIQUE
RAMOS CAAL, a/k/a “Carlos Ramos Peten,” ESVIN ALEXANDER
RODRIGUEZ LUIS, a/k/a “Esbin Alexander Rodriguez Luis,” CESAR
RODOLFO GARCIA ARGUETA, shall forfeit to the United States, any property
constituting, or derived from, or traceable to, the proceeds obtained, directly or
indirectly, as a result of such violations and any property, real or personal, that was
used or intended to be used to commit or to facilitate the violations of federal law.

Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
18, United States Code, Sections 982(b)(1) and 1028(g), and Title 28, United States

Code, Section 2461(c), the defendants shall forfeit substitute property, up to the value

19
of the forfeitable property described above if, by any act or omission of the
defendants, the forfeitable property, or any portion thereof, cannot be located upon
the exercise of due diligence; has been transferred or sold to, or deposited with, a
third party; has been placed beyond the jurisdiction of the court; has been
substantially diminished in value; or has been commingled with other property
which cannot be divided without difficulty.

All pursuant to Title 8, United States Code, Section 1324, Title 18, United States

Code, Section 982(a), and Title 28, United States Code, Section 2461.

CLINTON J. JOHNSON A TRUE BILL
United States Attorney

Ah We,
— Wl /s/ Grand Jury Foreperson

ADAM D.MCCONNEY ~ Grand Jury Foreperson

Assistant United States Attorne (

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